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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                             Plaintiff,           )       8:05CR75
                                                  )
                     vs.                          )       FINAL ORDER OF
                                                  )       FORFEITURE
                                                  )
SCOTT FORREST,                                    )
RASHELL ROTH, and                                 )
MICHAEL ANDREWS,                                  )
                                                  )
                             Defendants.          )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 102). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On September 1, 2005, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846, 841(c)(2), 853

and Title 18, United States Code, Section 924(c), based upon the Defendants’ pleas of

guilty to two or more of the following: Counts I, II, IV and V of the Indictment filed herein.

By way of said Preliminary Order of Forfeiture, the Defendants’ interest in $5,583.00 in

United States currency was forfeited to the United States.

       2. On September 22, 29 and October 6, 2005, the United States published in a

newspaper of general circulation notice of this forfeiture and of the intent of the United

States to dispose of the property in accordance with the law, and further notifying all third

parties of their right to petition the Court within the stated period of time for a hearing to

adjudicate the validity of their alleged legal interest(s) in said property. An Affidavit of

Publication was filed herein on November 4, 2005 (Filing No. 101).
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       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 102) is hereby

sustained.

       B. All right, title and interest in and to the subject property, i.e., $5,583.00 in United

States currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., $5,583.00 in United States currency, be, and the same

hereby is, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of

said property in accordance with law.

       DATED this 15th day of November, 2005.


                                                    BY THE COURT:

                                                    s/Laurie Smith Camp
                                                    United States District Judge
